Case 2:14-md-02592-EEF-MBN Document 5114-14 Filed 01/20/17 Page 1 of 20




                        Exhibit 8
        FILED UNDER SEAL
Case 2:14-md-02592-EEF-MBN Document 5114-14 Filed 01/20/17 Page 2 of 20
  Case 2:14-md-02592-EEF-MBN Document 5114-14 Filed 01/20/17 Page 3 of 20




                         Expert Report of Cindy A. Leissinger, M.D.

          In Re: Xarelto (Rivaroxaban) Products Liability Litigation (MDL-2592)



   I.      Background & Qualifications

I graduated from Tulane University Medical School in 1979 and then trained in internal medicine
from 1979 until 1981. From 1981 until 1984 I was a fellow in hematology at the NIH, Bethesda,
Maryland where I received specialized training in disorders of hemostasis. From 1984 through
1987, I worked as a primary care physician in St Martinville, LA. In January, 1988 I returned to
Tulane University to train as a fellow in the hematology/oncology fellowship program. Upon
completion of my training, on January 1, 1990, I accepted a faculty position in
hematology/oncology at Tulane University where I have been ever since.

My area of specialization since starting my faculty position has been disorders of hemostasis and
thrombosis. Since 1992 I have been the director of the Louisiana Comprehensive Hemophilia
Care Center, and since 2003 the director of the Louisiana Center for Bleeding and Clotting
Disorders. I am a member of the American Society of Hematology, the International Society on
Thrombosis and Haemostasis and the Hemostasis and Thrombosis Research Society of North
America.

Through the years I have cared for many patients with thromboembolic disorders. Because of the
specialization of my practice, I see patients with complex thrombotic disorders and patients who
are difficult to treat, who have complicated medical histories or who have failed conventional
therapy. I have extensive experience in managing patients with all classes of anticoagulant drugs,
and I deal with patients who must be anticoagulated in the face of complex underlying medical
problems. I care for patients who are limited in their anticoagulant choices due to a wide variety
of reasons. Many of my patients are managed with warfarin that is controlled with the use of a
home monitoring system. In addition, I have patients on long term out-patient use of parenteral
anticoagulants such as low molecular weight heparins and fondaparinux. In recent years I have
incorporated novel oral anticoagulants (NOACs) into my practice for patients that are good risk
candidates for this class of drugs.

   II.     Methodology

In forming my opinions set forth herein, I have reviewed various published articles, internal
documents, product labeling, and regulatory documents, among others; a complete listing of
these materials is contained throughout this report and Appendix A attached to this report. In
addition, I also relied on my background/education/training/clinical experience, and applied the
same method of review and analysis as I use in my clinical/academic practice.




                                                1
  Case 2:14-md-02592-EEF-MBN Document 5114-14 Filed 01/20/17 Page 4 of 20




My curriculum vitae (Appendix B). I have no prior testimony as an expert witness for the past
four years, and my fee schedule for this litigation is $1,000.00 per hour.

   III.    Summary of Opinions

The following opinions, and those expressed throughout the report, are stated to a reasonable
degree of medical certainty. I reserve the right to supplement my opinions as further information
becomes available.

   1. Anticoagulants effectively reduce the risk of thromboembolic events, but carry
      significant bleeding risks. Bleeding is a major side effect of anticoagulant therapy, and
      therefore any means of reducing this side effect should be actively and aggressively
      pursued.
   2. Xarelto has a narrow therapeutic index in that the difference between the amount of
      Xarelto necessary to properly anticoagulate, and the amount which would put a patient at
      increased risk of bleeding is small.
   3. Xarelto is a highly variable drug with respect to pharmacokinetic and pharmcodynamic
      parameters.
   4. Increasing exposure to Xarelto results in increasing bleed risk.
   5. Due to the combination of Xarelto exhibiting high inter-patient variability and a narrow
      therapeutic index, patient safety could be improved through therapeutic drug monitoring.
   6. The prothrombin time (PT) laboratory test, with the appropriate reagent, is a useful and
      readily available test for identifying Xarelto-treated patients at the highest risk of
      experiencing a major bleeding event.
   7. Xarelto appears to have the highest bleeding risk and has the highest inter-patient
      variability of all NOACs. Xarelto, unlike other NOACs, was not superior to warfarin in
      the randomized clinical trials involving atrial fibrillation patients.
   8. Although Xarelto and warfarin had similar major bleed rates in ROCKET (3.6%
      compared with 3.4%), it is important to acknowledge that warfarin effect can be rapidly
      and effectively reversed in bleeding patients but Xarelto effect cannot.
   9. The INR management of warfarin patients in ROCKET was conducted with a faulty
      device, thereby undermining the reliability of ROCKET, and likely underestimating the
      difference in bleeding rates between warfarin and Xarelto.
   10. The Xarelto label is inadequate in the following ways:
          a. Unlike that of warfarin (Coumadin), it does not have a black box warning
             regarding the risk of major and fatal bleeding, thus suggesting to patients and
             physicians that Xarelto is safer than warfarin (Coumadin).
          b. It fails to present the variability data (e.g., 5-95th percentiles) for pharmacokinetic
             and pharmacodynamic measurements. A prescribing physician should be aware of

                                                2
    Case 2:14-md-02592-EEF-MBN Document 5114-14 Filed 01/20/17 Page 5 of 20




                the high inter-patient variability, and the variable bleeding risks among patients
                on Xarelto.
             c. It fails to identify the prothrombin time (PT) laboratory test, with the appropriate
                reagent, as a useful and readily available test for identifying Xarelto-treated
                patients at high risk of experiencing a major bleeding event.
                Prior to September 2015, the label failed to properly inform physicians of the
                increased bleeding risk seen in U.S. patients on the registration trial for atrial
                fibrillation.

     IV.     Overview of Xarelto (Rivaroxaban)

Xarelto was developed and manufactured by Bayer, and is marketed in the United States through
a joint partnership between Bayer and Janssen. It acts as a direct inhibitor of Factor-Xa and is a
member of the class commonly referred to as the new oral anticoagulants (NOACs), comprised
of Xarelto, Pradaxa (dabigatran), Eliquis (apixaban), and Savaysa (edoxaban), which were
developed to offer an alternative to warfarin, the gold standard in oral anticoagulation. Baed
upon submission by Janssen and Bayer, the Food and Drug Administration (FDA) approved
Xarelto for three indications: 1) the prophylaxis of deep vein thrombosis (DVT) and pulmonary
embolism (PE) in patients undergoing hip or knee replacement surgeries (approved July 1,
2011); 2) to reduce the risk of stroke and systemic embolism in patients with non-valvular atrial
fibrillation (approved November 4, 2011); and 3) the treatment of DVT and/or PE and the
reduction in recurrence of DVT and/or PE (approved November 2, 2012). Xarelto is available in
doses of 20mg, 15mg, and 10mg.

This report will focus mainly on the atrial fibrillation indication, which relied on the pivotal
Phase III clinical trial, Rivaroxaban Once Daily Oral Direct Factor Xa Inhibition Compared with
Vitamin K Antagonism for Prevention of Stroke and Embolism Trial in Atrial Fibrillation
(ROCKET AF). The ROCKET trial’s design and outcomes, along with its flaws, are discussed in
greater detail in the expert reports of Drs. Henry Bussey and Bud Gerstman. The ROCKET trial
found that Xarelto was non-inferior to warfarin for the prevention of stroke and systemic
embolism in patients with non-valvular atrial fibrillation, with similar rates of major bleeding
and non-clinically significant major bleeding. 1 (Patel, M.R. et al., Rivaroxaban versus Warfarin
in Nonvalvular Atrial Fibrillation. N.Engl.J.Med. 2011;365:883-91.).

The indication for DVT/PE prophylaxis following hip/knee surgery was based on a series of
Phase 3 clinical trials known as the Regulation of Coagulation in Orthopedic Surgery to Prevent
Deep Venous Thrombosis and Pulmonary Embolism studies (hereinafter referred to as the

1
  This primary safety endpoint was defined as follows: “Major bleeding was defined as clinically overt bleeding
associated with any of the following: fatal outcome, involvement of a critical anatomic site (intracranial, spinal,
ocular, pericardial, articular, retroperitoneal, or intramuscular with compartment syndrome), fall in hemoglobin
concentration >2 g/dL, transfusion of >2 units of whole blood or packed red blood cells, or permanent
disability…Non-major clinically relevant bleeding was defined as overt bleeding not meeting criteria for major
bleeding but requiring medical intervention, unscheduled contact (visit or telephone) with a physician, temporary
interruption of study drug (i.e., delayed dosing), pain, or impairment of daily activities.” (Patel, et al. 2011,
Supplementary Appendix p. 12).


                                                          3
  Case 2:14-md-02592-EEF-MBN Document 5114-14 Filed 01/20/17 Page 6 of 20




“RECORD” studies). The results of the RECORD studies found Xarelto to be superior to
enoxaparin for thromboprophylaxis after total knee and hip arthroplasty, with similar rates of
bleeding, as measured by the pre-determined criteria for bleeding outcomes. (Lassen, M.R., et al.
Rivaroxaban versus Enoxaparin for Thromboprophylaxis after Total Knee Arthroplasty.
N.Engl.J.Med. 2008;358:2776-86; Kakkar, A.K., et al. Extended duration rivaroxaban versus
short-term enoxaparin for the prevention of venous thromboembolism after total hip
arthroplasty: a double-blind, randomised controlled trial. Lancet 2008;372:31-39; Ericksson,
B.I., et al. Rivaroxaban versus Enoxaparin for Thromboprophylaxis after Hip Arthroplasty.
N.Engl.J.Med. 2008;358:2765-75.)

Approval of Xarelto for the treatment of DVT/PE was based on the EINSTEIN series of Phase 3
clinical trials including the EINSTEIN-DVT, EINSTEIN-PE, and EINSTEIN-Extension studies.
(The EINSTEIN Investigators. Oral Rivaroxaban for Symptomatic Venous Thromboembolism.
N.Engl.J.Med. 2010;363:2499-510; The EINSTEIN-PE Investigators. Oral Rivaroxaban for the
Treatment of Symptomatic Pulmonary Embolism. N.Engl.J.Med. 2012;366:1287-97).

   V.      Therapeutic Drug Monitoring

Anticoagulants effectively reduce the risk of embolic events, but have a relatively high rate of
complications compared to other commonly used drugs. Major bleeding is a clinically
significant, unwanted effect of anticoagulants. Any means of reducing this side effect without
diminishing the anti-thrombotic properties of anticoagulants should be actively and aggressively
pursued.

In the pivotal clinical trial for the atrial fibrillation indication, for every 100 patient years on
rivaroxaban, there were 14.9 major or non-major clinically relevant bleeding events. (Patel
2011). In the US, the prevalence of atrial fibrillation was estimated at 5 million in 2010 and is
projected to grow to 12 million by 2030 as the population ages. (Colilla, S., et al. Estimates of
Current and Future Incidence and Prevalence of Atrial Fibrillation in the US Adult Population.
Am.J.Card. 2013;112:1142-47.). Thus, for every one million patients on Xarelto for atrial
fibrillation, approximately 150,000 persons per year will have a clinically relevant bleeding
event. On a global scale, and over multiple years, more than a million patients will experience a
clinically relevant bleeding event as a direct result of their use of this medication. Considering
these numbers, it would be prudent to develop and standardize a test that can measure the drug
level of Xarelto in a patient’s blood, or a surrogate blood test that can assess the degree of
anticoagulation with Xarelto use; such testing would identify those patients who are at the
highest risk of bleeding and would allow for additional patient counseling, discontinuation,
alternative therapies, or adjustment in the Xarelto dose to reduce bleeding events. Accordingly,
global regulators and clinicians are currently investigating this improvement to patient safety.
The underlying basis for this opinion is founded on a number of factors, as described in detail
below.

   A. Narrow Therapeutic Index

The therapeutic window (or index) for a drug is the range of doses that gives a good therapeutic
response without causing any meaningful side effects in patients. Drugs with a narrow
therapeutic window are inherently more risky for patients since small differences in drug dosing
                                                  4
  Case 2:14-md-02592-EEF-MBN Document 5114-14 Filed 01/20/17 Page 7 of 20




or absorption can lead to serious complications. The FDA’s proposed definition of drugs with a
narrow therapeutic window includes “… drugs where small differences in dose or blood
concentration may lead to serious therapeutic failures and/or adverse drug reactions…”
[Approaches to Demonstrate Bioequivalence of Narrow Therapeutic Index Drugs, Advisory
Committee for Pharmaceutical Science and Clinical Pharmacology, July 26, 2011 at Slide 14].
In my opinion this definition characterizes oral anticoagulant drugs. Moreover this characteristic
is particularly important in anticoagulants due to the severity of outcomes experienced by too
little exposure and/or too much exposure.

For anticoagulants, the narrow range of exposure between the beneficial effect of the drug, e.g.,
preventing thrombosis and stroke, and the unwanted effect of bleeding, should necessitate careful
dose selection to achieve optimal benefit/risk balance. The best way to ensure safety and assure
that a patient is within the therapeutic window is to test for the anticoagulant drug’s
concentration or effect in that patient.




[G&G 12th Edn (2011), Figure 3-6]
FIGURE V. A. 1


This opinion regarding Xarelto as a narrow therapeutic index drug is also shared by the FDA. In
its Summary Review Memorandum for the atrial fibrillation indication, the FDA declared that all
anticoagulants “are intrinsically narrow therapeutic range drugs because their principal toxicity,
bleeding, is a result of their intended pharmacodynamic activity; too low a dose results in
inadequate prevention of pathological thrombosis and consequent serious clinical events and too
high a dose results in excessive inhibition of physiologic clotting and excessive bleeding.”
(November 2011 FDA Summary Review Memorandum approving the A-fib indication; see also
XARELTO_BHCP_00305753).

The fact that Xarelto has been approved at a fixed dose reflects the pre-determined intent of the
registration clinical trial rather than a scientifically developed dose finding study. (See
XARELTO_BHCP_000015914).


                                                5
  Case 2:14-md-02592-EEF-MBN Document 5114-14 Filed 01/20/17 Page 8 of 20




The important implications of a narrow therapeutic index are enhanced when a drug also has
high variability in absorption or blood levels from patient to patient, discussed in further detail
below.

   B. Inter-patient Variability

Analysis of pharmacokinetic data from patients participating in a variety of clinical trials of
Xarelto (including ROCKET) show that there is significant inter-patient variability (TABLE V B
1). Although different Xarelto doses were used in the various studies, the data illustrates that the
high inter-patient variability noted in the ROCKET trial is also seen in the other trials which used
different Xarelto doses for other indications. Of particular interest, trough levels drawn at
approximately 24 hours (just before the next dose of a daily regimen) show a 10-fold difference
in Xarelto blood levels between the 5th and 95th percentiles. This high degree of variability was
seen in different study populations, reaffirming the drug’s high inter-patient variability at all
doses and for all indications.

These differences are also seen in the graph provided by the manufacturer in which open circles
represent the actual plasma levels of Xarelto from a subset of patients in the ROCKET trial.
[FIGURE V B 1] There was an approximate 800-fold difference between the patient with the
lowest blood level and the patient with the highest blood level at the 24 hour time point after
drug ingestion. (Mueck, W., et al. Clinical Pharmacokinetic and Pharmacodynamic Profile of
Rivaroxaban. Clin.Pharmacokinet. 2014;53:1-16; XARELTO_BPAG_00006581). Thus there
was extreme variability noted in the blood levels (i.e., plasma concentration) of Xarelto in the
patients who were studied.




TABLE V.B.1 [Mueck 2014]



                                                  6
  Case 2:14-md-02592-EEF-MBN Document 5114-14 Filed 01/20/17 Page 9 of 20




FIGURE V.B.1 [XARELTO_BPAG_00006581 at p. 28]


As demonstrated in the table and figure above, the patients falling in the highest 5% have trough
Xarelto levels higher than the median trough level; it is very likely that these levels increase the
bleeding risk in this group of patients. This is additionally concerning since Xarelto, unlike
warfarin, has no rapidly available reversal agent for patients who experience critical bleeding.

This inter-patient variability information is not provided in the product label, despite the fact that
patients who fall at the extreme ranges of Xarelto blood levels will be at increased risk for
adverse events.

A logical assumption from looking at this data is that 24 hours after a group of patients is given a
fixed daily dose of Xarelto, a significant portion of patients will have very low blood levels of
drug with an increased risk of clotting compared to the rest of the group, and a significant portion
of patients will have high blood levels of drug with an increased risk of bleeding when compared
to the rest of the group.

Xarelto also appears to have the highest inter-patient variability of all the NOACs. (See
Ezekowitz, M.D. et al. Am.J.Cardiol 2007;100:1419; Mueck, W., et al. Clin.Pharmacokinet.
2014;53:1-16; Kowalski, et al. J.Pharmacokinet.Pharmacodyn. 2014;41(suppl.1):S19; Weitz, et
al. Thromb.Haemost 2010;104:633).

   C. Dose-Response

It is widely understood and biologically expected that higher anticoagulant blood levels lead to a
greater bleeding risk, and lower anticoagulant blood levels lead to a greater clotting risk. The
figures below demonstrate the thrombosis and bleeding risk curves compared to the trough drug
levels for three (3) currently available oral anticoagulants, warfarin, edoxaban and dabigatran.
Each drug’s therapeutic window is found around the area where these 2 risks cross. As noted


                                                  7
 Case 2:14-md-02592-EEF-MBN Document 5114-14 Filed 01/20/17 Page 10 of 20




earlier, all three classes of oral anticoagulant drugs (i.e., warfarin, anti-Xa inhibitors and anti-
thrombin inhibitors) by their very nature will have similar profiles as noted in the figures.




FIGURE V.C.1




FIGURE V.C.2 [Earp, J.C. Edoxaban Dosing Considerations Based on Renal Function, Oct. 30,
2014, Slide 32]




                                                   8
 Case 2:14-md-02592-EEF-MBN Document 5114-14 Filed 01/20/17 Page 11 of 20




FIGURE V.C.3 [Reilly 2014]


Although the dose (i.e., exposure) response curves have not been published for Xarelto we would
expect Xarelto to be similar to other oral anticoagulants noted in these figures. Per Jansen
internal emails, the exposure-response curves for edoxaban and dabigatran are “pretty similar”
and the curves for Xarelto are “probably similar as well.” (XARELTO_JANSSEN _18580558).

Due to the critical nature of the therapeutic window, and the inability to measure Xarelto blood
levels in clinical practice, there is an urgent need for the manufacturer to identify a surrogate
blood test that can assess anticoagulant activity in order to identify patients who are on the
extremes of the dose-response curves. In particular, given the large numbers of patients likely to
be in the elevated range of Xarelto plasma concentration and thus at high risk for bleeding (see
FIGURE V.B.1), it is crucial to identify an assay that will identify these at-risk patients.



                                                9
    Case 2:14-md-02592-EEF-MBN Document 5114-14 Filed 01/20/17 Page 12 of 20




     D. Measuring Anticoagulant Activity

For decades warfarin effect has been measured using a universally available laboratory test
known as the prothrombin time (PT), which measures the time needed for a sample of blood to
clot. Assays that measure the blood levels of warfarin are not readily available, but since the PT
test has been proven to correlate with warfarin effect in the blood, the PT is the universally
accepted method for measuring warfarin’s effect. Notably, PT results are standardized and
expressed as an INR (ie, international normalized ratio, a way of harmonizing PT results
obtained in different labs using different reagents). High INR levels are particularly helpful in
predicting patients who are at risk of bleeding. There is a direct correlation between the INR
level and the risk of bleeding as shown in the FIGURE V.C.1. For the clinician, this ability to
measure anticoagulant effect allows for dose adjustments and/or partial reversal of warfarin to
prevent bleeding.

Sufficient information exists to show that PT testing is useful for assessing the anticoagulant
effect of Xarelto. Studies have shown that there is a linear correlation between Xarelto blood
levels and prothrombin time when the prothrombin time test is performed with a specific reagent
(Neoplastin Plus). 2 In fact the FDA created the figure below in their review of the ROCKET
trial:




FIGURE V.D.1
[FDA Briefing Document for the Cardiovascular and Renal Drugs Advisory Committee
(CRDAC), dated 8 September 2011, Clinical Review, p. 37]




2
 A similar relationship between Factor Xa levels and Xarelto plasma concentration was also observed. See FDA
Advisory Committee Briefing Document, Clinical Review, Figure 5, p.37; Douxfils J, et al. Assessment of the
impact of rivaroxaban on coagulation assays: Laboratory recommendations for the monitoring of rivaroxaban and
review of the literature. Thromb Res (2012), http://dx.doi.org/10.1016/j.thromres.2012.09.004, at p. 3 and 4.

                                                     10
 Case 2:14-md-02592-EEF-MBN Document 5114-14 Filed 01/20/17 Page 13 of 20




Though PT is readily available, the relationship between PT and Xarelto plasma concentration
observed in the figure above, is reagent-dependent. See figure below.




[Douxfils, J., et al. Assessment of the impact of rivaroxaban on coagulation assays: Laboratory
recommendations for the monitoring of rivaroxaban and review of the literature. Thromb.Res.
(2012), http://dx.doi.org/10.1016/j.thromres.2012.09.004]


Moreover, a document created by Janssen reported the following: “If assessment of rivaroxaban
plasma concentrations is necessary in individual patients, the prothrombin time (PT) was
reported to be an appropriate coagulation test. The relationship between PT and rivaroxaban
plasma concentration when Neoplastin® Plus, STA Neoplastin®, or Innovin® is used as the

                                               11
 Case 2:14-md-02592-EEF-MBN Document 5114-14 Filed 01/20/17 Page 14 of 20




reagent is linear and closely correlated. The pharmacodynamics effects of rivaroxaban as
measured by the PT are strongly affected by the type of PT reagent that is used.’
[XARELTO_JANSSEN_24478012, p. 1]

As noted earlier in this report, with the extensive use of Xarelto, a large number of patients are
expected to have bleeding complications leading to excess morbidity and mortality. It would be
critically important to identify those patients at greatest risk for bleeding. The results noted
above suggest that the PT assay when done using a specific reagent, correlates linearly with
Xarelto blood levels, and is therefore likely to be able to identify those patients at the highest risk
of bleeding.

Analyses published in the FDA briefing document showed that higher PT times (indicating
higher blood levels of Xarelto) did not offer greater protection against clotting, but did correlate
with greater bleeding risks (FIGURES V.D.3 and V.D.4).




FIGURE V.D.3
[FDA Briefing Document for the September 2011 Advisory Committee Meeting discussing
approvability of the Xarelto A-fib indication, p. 39]




                                                  12
    Case 2:14-md-02592-EEF-MBN Document 5114-14 Filed 01/20/17 Page 15 of 20




FIGURE V.D.4
[FDA Briefing Document for the September 2011 Advisory Committee Meeting discussing
approvability of the Xarelto A-fib indication, p. 40.]


Based on the above 2 figures, it is clear that the risk of major bleeding increases as the PT
increases without any additional benefit in prevention of strokes. 3 Internal manufaturer’s
documents [XARELTO_JANSSEN_01207639] acknowledge that “scientifically, [] there is no
dose response curve for efficacy…there is a dose response curve on bleeding”.)

Understanding that the PT levels correlate closely with Xarelto blood levels, I can conclude that
increasing exposure to Xarelto does not lead to additional benefit in preventing strokes but does
lead to an increasing risk of bleeding, and that the PT when performed using the proper reagents
may be able to discriminate those patients most at risk.

As noted in the summary of the FDA’s review for the atrial fibrillation indication, “there is a
linear correlation between rivaroxaban levels and [PT]…there is also a correlation between PT
and risk of bleeding.” The FDA points out that the company “has not chosen to utilize this
information.” The FDA reviewer states that “infrequent monitoring…to assure appropriate
dosing of drugs that prevent stroke and cause bleeding may improve outcomes and be acceptable
to patients.” (See FDA Summary Review). 4 Given the potential harm associated with bleeding
and the evidence showing that a routine blood test may be easily adapted to determine which
patients are at highest risk of bleeding, the responsible action on the part of the manufacturer
would have been to identify this test as a clinical tool.

Interestingly, the manufacturer of another NOAC with a similar benefit/risk profile to Xarelto,
similar pharmacokinetic/pharmacodynamic profile, and similar inter- and intra-patient

3
 A similar relationship between Factor Xa levels and major bleeding was also observed. See FDA Advisory
Committee Briefing Document, Clinical Pharmacology Review, Figure 14, p. 40.



                                                      13
 Case 2:14-md-02592-EEF-MBN Document 5114-14 Filed 01/20/17 Page 16 of 20




variability, conducted internal analyses that indicated that a one-time blood test and dose-
adjustment could maintain efficacy but decrease bleeding events by 40%. (See Cohen 2014.
Dabigatran: how the drug company withheld important analyses. BMJ). It appears that the
above finding prompted current investigations by regulators into the potential for therapeutic
drug monitorin with NOACs.

   VI.     Concerns About the Validity of ROCKET Results

There are additional concerns about the safety profile of Xarelto for atrial fibrillation due to
quality control problems with the warfarin arm of the study. Specifically, the quality of warfarin
management in ROCKET was substandard.

Time in Therapeutic Range (“TTR”) is defined as a means of summarizing a warfarin patient’s
INR control over time. TTR is used to manage warfarin patients because higher TTR is
associated with better outcomes (i.e., fewer strokes and bleeds). The therapeutic range for INR of
atrial fibrillation patients on warfarin is universally accepted to be 2-3. An INR greater than 4
necessitates a dose reduction in a warfarin treated patient.

The TTR in ROCKET was 55%, meaning that patients assigned to the warfarin arm were only in
therapeutic range 55% of the time. Notably, at just 55%, ROCKET had the lowest TTR for any
Phase III trial that compared a NOAC to warfarin. The degree of poor INR control in ROCKET
potentially biased the overall results in favor of Xarelto. (See Power Point presentation by Dr.
Martin Rose (FDA), dated 9.8.2011). In fact, the FDA noted in its Summary Review
memorandum that the two primary clinical reviewers (Drs. Dunnmon and Rose) recommended
against approval of Xarelto for the atrial fibrillation indication based in part on the low TTR in
ROCKET. Due to poor warfarin management, the FDA required the manufacturer to include the
following language in the Xarelto label: “There is insufficient experience to determine how
XARELTO and warfarin compare when warfarin therapy is well-controlled.”

Further, the warfarin management in ROCKET has recently been further called into question due
to an issue with the point-of-care (POC) device used to measure the INRs of warfarin patients
during the trial. The double-blind design of the ROCKET study called for a common POC device
to manage the warfarin patients’ INR. The POC at issue was altered so as to generate a seven
digit code instead of the true INR, as rivaroxaban does not influence INR in the same way as
warfarin.

Importantly, the POC device used to manage the warfarin patients in ROCKET is now subject to
a Class I FDA recall due to underreporting true INR readings. Further, a comparison of lab
values and POC values in the warfarin patients revealed that approximately 30% of patients
whose lab INR values were greater than 4, and thus outside the therapeutic range of 2-3, were
misclassified by the recalled POC device as being sub-therapeutic, which would signal a dose
increase, or as therapeutic, which would not signal a dose decrease. (See EMA CHMP
Assessment Report 2.5.2016; Cohen, D., Rivaroxaban: can we trust the evidence? B.M.J.
2016;352:i575; Patel, M.R., et al. Point-of-Care Warfarin Monitoring in the ROCKET AF Trial.
2016 N.Engl.J.Med. 374;785-88. (DCRI Re-Analysis)); FDA CDER ROCKET AF Reanalysis
Reviews (Clinical Review; Statistical Review; Clinical Pharmacology Review), NDA 202439.


                                                14
 Case 2:14-md-02592-EEF-MBN Document 5114-14 Filed 01/20/17 Page 17 of 20




These important and compelling findings call into question the reliability of ROCKET. Because
true INR readings were under-reported, it seems likely that bleed rates (which strongly correlate
with INR levels) on the warfarin arm were higher than we would expect if the INR levels were
reported accurately.

As shown in TABLE VI. 1 below, approximately one third of patients on the warfarin arm in
ROCKET had higher INRs than what was indicated by their POC instrument; for example, over
500 patients had a true INR > 4 that was unrecognized due to POC malfunction. These patients
would not have had appropriate warfarin adjustments and they would have been more likely to
have excess bleeding events. Had these patients been appropriately managed it is likely that there
would have been fewer bleeding events on the warfarin arm, and that the Xarelto arm would
have had a higher bleeding rate by comparison. These observations call into question that
Xarelto was non-inferior to warfarin in bleeding rates.




TABLE VI. 1


   VII.    US Only Data

Separate analysis of outcome data on US patients (N=1,926) enrolled in ROCKET was
performed by the FDA. In this group of patients, there was a 28% increased risk of reaching a
safety endpoint in the Xarelto arm. This included a 50% increased risk of major bleeding, and a
61% increased risk of transfusion when compared to the warfarin arm, all of which were
statistically significant. TABLE VII.1




                                               15
 Case 2:14-md-02592-EEF-MBN Document 5114-14 Filed 01/20/17 Page 18 of 20




TABLE VII.11
(FDA Briefing Document for the September 2011 Advisory Committee Meeting discussing
approvability of the Xarelto A-fib indication, Table 99, p. 228).

Of particular note, the TTR for U.S. warfarin patients was 63%, which represents significantly
better warfarin management than in the global population (see discussion on TTR above).
Further, the incidence of major bleeding events in U.S. patients decreased as the TTR increased.

Despite these results, the U.S. label did not relay this information to prescribers until September
2015. On January 28, 2014, the FDA sent a letter to Janssen requesting a label change, including
the addition of a forest plot depicting the risk of major bleeding by geographic region.
(XARELTO_JANSSEN_00000344). Thus, the data contained in the FDA Advisory Committee
Brief from September 2011 on the risk of bleeding for U.S. patients was not added until
September 2015 although rivaroxaban has been on the market in the U.S. for the atrial
fibrillation indication since September 2011.

   VIII. Xarelto Compared to Other NOACs

In addition to Xarelto’s inferior performance with respect to bleeding when compared to
warfarin in the U.S. patients of ROCKET, there is also emerging data demonstrating potentially
inferior performance when compared to other NOACs.

In an indirect comparison of data from the published trials of the NOACs, Lip and colleagues
found that the risk of major bleeding was less with dabigatran and apixaban than with

                                                16
 Case 2:14-md-02592-EEF-MBN Document 5114-14 Filed 01/20/17 Page 19 of 20




rivaroxaban. (Lip, G., et al. Indirect Comparisons of NOACs for Efficacy and Safety When Used
for Stroke Prevention in Atrial Fibrillation. J.A.C.C. 2012;60:738-46.). In another comparative
study of the three approved NOACs, Schneeweiss and colleagues found that apixaban patients
had a lower risk of bleeding than patients taking dabigatran or rivaroxaban. (Schneeweiss, S., et
al. Comparative efficacy and safety of new oral anticoagulants in patients with atrial fibrillation.
Circ.Cardiovasc.Qual.Outcomes. 2012;5:480-86.)

In a retrospective study using a large commercial and Medicare database in the US, bleeding was
assessed in all patients 18 years and older who were prescribed one of the NOACs for non-
valvular atrial fibrillation over a 4.5 year period. While apixaban and dabigatran had less risk of
bleeding than warfarin, the risk of bleeding with rivaroxaban was the same as with warfarin.
Xarelto patients had a statistically significant 82% increased risk of major bleeding compared to
apixaban. (Yao, X, et al. Effectiveness and Safety of Dabigatran, Rivaroxaban, and Apixaban
Versus Warfarin in Nonvalvular Atrial Fibrillation. J.Am.Heart Assoc. 2016;5:e003725.

In another study, both dabigatran and apixaban had significantly lower annual rates of bleeding
and risk of death as compared to warfarin, while rivaroxaban had comparable rates for both.
(Larsen, T.B., et al. Comparative effectiveness and safety of non-vitamin K antagonist oral
anticoagulants and warfarin in patients with atrial fibrillation. B.M.J 2016;353:i3189).

In a retrospective, new user cohort study by Graham, et al., with more than 100,000 patients,
concluded that “treatment with rivaroxaban 20 mg once daily was associated with statistically
significant increases in ICH and major extracranial bleeding, including major gastrointestinal
bleeding, compared with dabigatran 150 mg twice daily.” (Graham, et al., Stroke, bleeding, and
mortality risks in elderly medicare beneficiaries treated with dabigatran or rivaroxaban for
nonvalvular atrial fibrillation, JAMA, doi:10.1001/jamainternmed.2016.5954.)

At the end of 2015, Xarelto-related serious adverse events were the highest reported among all
pharmaceutical drugs on the market, with 81% involving a hemorrhagic event, 42% requiring
hospitalization, and almost 11% resulting in patient deaths. “Xarelto accounted for 10,674
reports of fatal, disabling, and serious injury in the U.S., more than any other of the 1,395
identifiable drugs we regularly monitor in this category. For comparison, the median number of
reports per drug was 7 cases, with 25% of drugs accounting for 4 or fewer serious cases in 2015,
and 25% accounting for 103 cases or more. The rivaroxaban total also included 1,121 reported
patient deaths.” (ISMP QuarterWatch 2015Q4). The authors of that report concluded that the
“exceptionally large total” of serious adverse event reports related to Xarelto “remains a strong
signal that improving the safety of oral anticoagulant treatments should be a major priority in
drug safety.” (Id.).




                                                17
 Case 2:14-md-02592-EEF-MBN Document 5114-14 Filed 01/20/17 Page 20 of 20




   IX.     Problems with Xarelto Labeling

Based on the information detailed above and my opinions derived from such information, I
conclude that the U.S. Xarelto label is inadequate for the following reasons.

Unlike that of warfarin (Coumadin), the Xarelto label, in its initial and current state, does not
have a black box warning regarding the risk of major and fatal bleeding, The U.S. label for
warfarin has contained a black box warning regarding bleeding risk since 2007. As noted above,
the ROCKET trial demonstrated similar rates of major and non-clinically significant bleeding
with rivaroxaban and warfarin. Without the inclusion of a black box warning, the label suggests
to patients and physicians that Xarelto is safer than warfarin (Coumadin). In addition, from
November 2011 until September 2015 the Xarelto label failed to properly inform physicians of
the risk of clinically relevant bleeding for U.S. patients.

The Xarelto label also fails to present the variability data (5-95th percentiles) for pharmacokinetic
measurements discussed in detail above. A prescribing physician should be aware of the high
interpatient variability of drug levels and cognizant that some patients at the extremes of these
drug levels are at risk for adverse events.

Given the potential harm associated with bleeding and the evidence showing that a routine blood
test (PT) can determine which patients are at highest risk of bleeding, the responsible action on
the part of the manufacturers would have been to communicate the information on PT testing to
clinicians.




                                                 18
